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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

Jennilyn Salinas, et al.

vs.                                                 Case No.: 6:21-CV-162
Nancy Pelosi, et al.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Elisabeth C. Frost                                       , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent DSCC and DCCC                                     in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
                Perkins Coie LLP                                        with offices at:

               Mailing address: 700 13th St. NW, Suite 800

               City, State, Zip Code: Washington, DC 20005

               Telephone: 202-654-6200                      Facsimile: 202-654-6211


       2.      Since       May 11, 2012                       , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of Washington, DC               .

               Applicant's bar license number is 1007632                                                .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
                See Attached
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4.   Applicant is presently a member in good standing of the bars of the courts listed above,

     except as provided below (list any court named in the preceding paragraph before which

     Applicant is no longer admitted to practice):




5.   I      have         have not previously applied to Appear Pro Hac Vice in this district

     court in Case[s]:

     Number: 1:19-cv-01071                on the 1st    day of November               , 2019 .

     Number:                              on the        day of                        ,         .

     Number:                              on the        day of                        ,         .

6.   Applicant has never been subject to grievance proceedings or involuntary removal

     proceedings while a member of the bar of any state or federal court, except as

     provided:
     N/A




7.   Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

     except as provided below (omit minor traffic offenses):

     N/A




8.   Applicant has read and is familiar with the Local Rules of the Western District of Texas

     and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: John R. Hardin

                 Mailing address: Perkins Coie LLP, 500 N. Akard St., Suite 3300

                 City, State, Zip Code: Dallas, Texas 75201

                 Telephone: 214-965-7743


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Elisabeth C. Frost                        to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Elisabeth C. Frost
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 1st day of June                       , 2021 .

                                                        Elisabeth C. Frost
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
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                                   ELISABETH C. FROST

                                   COURT ADMISSIONS



                                COURT                       ADMISSION
                                                              DATE

New York                                                     10/22/2008

Washington, DC                                               5/11/2012

U.S. Supreme Court                                            3/7/2016

U.S. Court of Appeals for the DC Circuit                     2/23/2015

U.S. Court of Appeals for the First Circuit                  12/19/2018

U.S. Court of Appeals for the Fourth Circuit                 4/29/2011

U.S. Court of Appeals for the Fifth Circuit                  7/30/2020

U.S. Court of Appeals for the Seventh Circuit                8/25/2016

U.S. Court of Appeals for the Ninth Circuit                  9/27/2012

U.S. Court of Appeals for the Eleventh Circuit               5/12/2017

U.S. District Court for the District of Columbia              2/4/2013

U.S. District Court for the Eastern District of New York     1/29/2019

U.S. District Court for the Southern District of New York    12/23/2008

U.S. District Court for the Northern District of New York     6/1/2016

U.S. District Court for the Western District of Wisconsin     9/3/2015
